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                                                                Office for Civil Rights and Civil Liberties
                                                                U.S. Department of Homeland Security
                                                                Washington, DC 20528




September 24, 2024

Via electronic mail

Paige Austin
Supervising Litigation Attorney
Make The Road New York
301 Grove St.
Brooklyn, New York 11237
paige.austin@maketheroadny.org

       Re:     Complaint No. CR-007846

Dear Paige Austin:

On November 22, 2023, the U.S. Department of Homeland Security (DHS) Office for Civil
Rights and Civil Liberties (CRCL) received your correspondence on behalf of Milton Canales
Molina (“Noncitizen”) (A094 004 098). In your correspondence, you alleged that officers at
Central Louisiana ICE Processing Center used excessive force and placed the Noncitizen in
segregation without providing medical care.

Pursuant to 6 U.S.C. § 345 and 42 U.S.C. § 2000ee-1, CRCL reviews and assesses information
concerning possible abuses of civil rights, civil liberties, and profiling on the basis of race,
ethnicity, or religion, by employees and officials of DHS. CRCL also reviews allegations that
DHS employees, programs, or activities discriminated on the basis of disability under Section
504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794.

In accordance with CRCL’s statutory authority, CRCL opened an investigation into the
allegations in your correspondence. CRCL investigated these allegations by reviewing video and
documentation of the incident, and resultant medical information.

Following the investigation, CRCL suggested that ICE provide additional training on accurately
reporting use of force incidents, including documenting all recording devices used in these
incidents.

As noted in our initial complaint acknowledgement letter, please be advised that CRCL’s
complaint process does not provide individuals with legal rights or remedies. Accordingly,
CRCL is not able to obtain any legal remedies or damages on anyone’s behalf. Instead, we use
complaint investigations to identify and address problems in DHS policy and its implementation.
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This investigation is now closed. CRCL has recorded your allegations and the results of the
investigation in our database, and we will continue to track this issue if we receive new
allegations that raise similar concerns.

Thank you for bringing this matter to our attention. Inquiries like yours help DHS meet its
obligation to protect civil rights and civil liberties. If you wish to file new allegations of civil
rights and civil liberties violations by DHS, please contact CRCL by email at
CRCLcompliance@hq.dhs.gov or visit our online complaint portal at
https://engage.dhs.gov/crcl-complaint.

                                                Sincerely,



                                                Office for Civil Rights and Civil Liberties
                                                U.S. Department of Homeland Security




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